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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      Anne Arundel County, Maryland v. Purdue Pharma, L.P. et al., )
            D. Maryland, C.A. No. 1:18-00519                       )                    MDL No. 2804


              ORDER VACATING CONDITIONAL TRANSFER ORDER
           AND VACATING THE MAY 31, 2018, HEARING SESSION ORDER


         A conditional transfer order was filed in this action (Anne Arundel County) on February 28,
2018. Prior to expiration of that order’s 7-day stay of transmittal, plaintiff in Anne Arundel County
filed a notice of opposition to the proposed transfer. Plaintiff later filed a motion and brief to vacate
the conditional transfer order. The Panel has now been advised that Anne Arundel County was
remanded to the Circuit Court for Anne Arundel County, Maryland, by the Honorable George L.
Russell, III in an order filed on April 25, 2018.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-13” filed on February 28, 2018, is VACATED insofar as it relates to this action.

       IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule filed
on April 16, 2018, are VACATED insofar as they relate to this action.


                                                        FOR THE PANEL



                                                        Jeffery N. Lüthi
                                                        Clerk of the Panel
